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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement Agreement between Plaintiff States and SST Corporation

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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement agreement between plaintiff states and SST Corporation.

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and SST Corporation.

Settlement Agreement between Plaintiff States

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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement Agreement between Plaintiff States and SST Corp.

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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement Agreement between Plaintiff States and SST
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Settlement Agreement between Plaintiff States and SST Corporation

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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement Agreement between Plaintiff States and SST Corporation.

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SETTLEMENT AGREEMENT BETWEEN PLAINTIFF STATES AND SST CORPORATION.

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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement Agreement between Plaintiff States and SST Corporation

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Settlement Agreement between Plaintiff States and SST Corporation.

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Settlement Agreement between Plaintiff States and SST Corporation.

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ATTACHMENT 1

FINAL ESCROW AGREEMENT

THIS FINAL ESCROW AGREEMENT, dated as of January__, 2001 ("Final Escrow"), is
entered into by the State of Ohio as liaison counsel, through its Attorney General, on behalf of the States
of Alabama, Alaska, Arizona, Arkansas, California, Colorado, Connecticut, Delaware, District of
Columbia, Florida, Georgia, Hawaii, Idaho, Illinois, Indiana, lowa, Kansas, Kentucky, Louisiana, Maine,
Maryland, Massachusetts, Michigan, Minnesota, Mississippi, Missouri, Montana, Nebraska, Nevada, New
Hampshire, New Jersey, New Mexico, New York, North Carolina, North Dakota, Oklahoma, Oregon,
Pennsylvania, Rhode Island, South Carolina, South Dakota, Tennessee, Texas, Utah, Vermont, Virginia,
Washington, West Virginia, Wisconsin and Wyoming (herein referred to as "Plaintiff States"), Mylan
Pharmaceuticals, Inc.("Mylan"), SST Corporation ("SST") and Fifth Third Bank, as Escrow Agent
hereunder ("Escrow Agent").

WHEREAS:

The Plaintiff States, the Federal Trade Commission, and defendants Mylan Laboratories Inc.Gyma
Laboratories of America, Inc.,ProfarmacoS.r.]., and Cambrex Corp. have entered into a settlement agreement
(the "Settlement") pursuant to which litigation by the Plaintiff States and the Federal Trade Commission
against these defendants will be resolved, upon Court approvaland under which Mylan has paid pursuant to
an interim escrow agreement ("Interim Escrow", attached hereto as exhibit A), c/o the Escrow Agent,
$28,217,983 into the Mylan Antitrust Action State Claims Account 28 28 002 6013106 (the "State Fund")
and $71,782,017 into the Mylan Antitrust Action Consumer Claims Account 2828 002 6013098 (the
"Consumer Fund"), and Mylan has agreed to pay up to an additional $8,000,000 to the Cost and Fee Account

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A settlement agreement (the "SST Settlement”) has also been entered into between the Plaintiff States
and defendant SST that provides that SST shall pay, c/o the Escrow Agent, at least $500,000 as follows:
$108,750 into the SST Agency Account, $266,250 into the SST Consumer Fund, and at least $125,000, plus
certain additional funds that may accrue to the Plaintiff States as a result of SST's settlement with the Plaintiff
States and proposed settlements with private plaintiffs, into the SST Cost and Fee Account;

Plaintiff States have appointed the Attorney General of the State of Ohio as Liaison Counsel (as

defined below) to represent them in connection with the litigation and the settlement thereof, and;

Counsel for the Plaintiff States, by and through the Plaintiff States' Liaison Counsel, agree to appoint
Fifth Third Bank as the Escrow Agent, and Fifth Third Bank is willing to act as Escrow Agent hereunder in
accordance with the terms and conditions of this Final Escrow. In order to administer the Escrow Funds (as
defined below), the parties hereto have entered into this Final Escrow.
STATEMENT OF AGREEMENT

NOW THEREFORE, for good and valuable consideration, the receipt and sufficiency of which

are hereby acknowledged, the parties hereto, for themselves, their successors and assigns, hereby agree to
the foregoing and as follows:

1. Definitions: FILED

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a. All capitalized terms used herein shall have the same meaning as provided
for in the Settlement or SST Settlement, whichever is applicable, unless the capitalized term is expressly
defined herein.

b. "Written Direction" shall mean a written notification, signed by the Plaintiff
States’ Representatives, in the form attached hereto as Exhibit B. Each Written Direction shall include a
certification by the Plaintiff States’ Representatives that the instructions in the notification are being made
pursuant to the terms of the Settlements and this Final Escrow.

c. "Escrow Funds" shall mean (i) the funds deposited by Mylan with the
Escrow Agent pursuantto the Interim Escrow including interest earned thereon (defined in the Interim Escrow
therein as "Escrow Amounts"), (ii) funds deposited pursuant to this Final Escrow to the Cost and Fee Account,
the SST Agency Account, the SST Consumer Fund, and the SST Cost and Fee Account, and (iii) any and all
earnings and/or interest from investment of the Escrow Funds.

d. "Liaison Counsel for the Plaintiff States” or "Liaison Counsel" means the
State of Ohio, through Betty D. Montgomery, Attorney General, or any other person or persons designated
by her or any official successor.

e. "Plaintiff States’ Representatives" shall mean Betty D. Montgomery,
Attorney General of the State of Ohio, and J. JosephCurran, Jr., Attorney General of the State of Maryland,
or any other person or persons designated by them or any official successors.

f "Settlements" shall mean the Settlement and the SST Settlement.

hereby accepts such appointment and agrees to hold, invest and disburse all Escrow Funds in accordance with
this Final Escrow.

3, Distribution Accounts,

a. In addition to the State Fund and the Consumer Fund already established
under the Interim Escrow, Escrow Agent shall separately establish the SST State Fund and the SST Consumer
Fund (collectively, the "Accounts").

b. Escrow Agent shall establish two (2) segregatedsubaccounts within the State
Fund: the Agency Account and the Cost and Fee Account. Mylan shall fund the Cost and Fee Account by
wire transfer pursuant to the Final Order within five (5) business days following entry of the Final Order.
Escrow Agent shall segregate the payment already made by Mylan to the State Fund pursuant to the Interim
Escrow, including interest thereon, into the Agency Account. Escrow Agent shall continue to maintain the
Consumer Fund separately. Escrow Agent shall also account separately for the interest earned upon the Cost
and Fee Account, Agency Account, and the Consumer Fund.

C. SST shall fund by wire transfer the SST Consumer Fund within twenty (20)
days after preliminary approval of the SST Settlement. Escrow Agent shall establish two (2) segregated
subaccounts within the SST State Fund: the SST Agency Account and the SST Cost and Fee Account. SST
shall fund by wire transfer the SST Agency Account within twenty (20) days after preliminary approval of
the SST Settlement. SST shall wire transfer $125,000 to the SST Cost and Fee Account within twenty (20)
days after preliminary approval of the SST Settlement. Any additional funds accruing to the Plaintiff States

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pursuant to SST's settlement with the Plaintiff States and proposed settlements with private plaintiffs shall be
transferred to the SST Cost and Fee Account within twenty (20) days of such funds accruing to the Plaintiff
States. Escrow Agent shall account separately for the interest earned upon the SST Cost and Fee Account,
the SST Agency Account, and the SST Consumer Fund.

4, Disbursement of Escrow Funds.

a. The Escrow Agent shall disburse Escrow Funds solely as provided for herein
or by order of the Court. At the Effective Date,as defined in the Mylan Settlement Agreement, which is
incorporated herein as Exhibit D, the Plaintiff States and Mylan shall jointly instruct the Escrow Agent, in
writing, that it may disburse funds from the Consumer Fund and State Fund pursuant to this Paragraph 4c, d
and e. At the Effective Date, as defined in the SST Settlement Agreement, which is incorporated herein as
Exhibit E, the Plaintiff States and SST shall jointly instruct the Escrow Agent, in writing, that it may disburse
funds from the SST Consumer Fund and SST State Fund pursuant to this Paragraph 4c, d and e.

b. Escrow Agent shall pay from the Consumer Fund the costs and expenses
associated with administering the Settlements, including, without limitation, costs and expenses for providing
proper notice of the Settlements, expert or consulting fees, the processing and payment of claims, and the fees
and expenses of the Escrow Agent; except those expenses incurred in writing checks and distribution of the
Agency Account shall be paid from the Agency Account. Taxes and Tax Expenses shall be paid as provided
for in Paragraph 8 below.

c. Escrow Agent shall distribute Escrow Funds for compensation to natural
persons only from the Consumer Fund and the SST Consumer Fund. Escrow Agent shall distribute the
Consumer Fund for compensation to natural persons upon Written Direction from Plaintiff States’
Representatives. Escrow Agent shall distribute the SST Consumer Fund to natural persons upon Written

approved by the Court, Escrow Agent shall distribute any residue and/or interest remaining in the Consumer
Fund and/or the SST Consumer Fund to the Litigating Plaintiff States forcy pres distribution by their

respective Attorneys General.

d. Escrow Agent shail distribute Escrow Funds for compensation to state
agencies only from the Agency Account and the SST Agency Account. Escrow Agent shall distribute the
Agency Account for compensation to state agencies upon Written Direction from Plaintiff States'
Representatives. Escrow Agent shall distribute the SST Agency Account for compensation to state agencies
upon Written Direction from Plaintiff States’ Representatives.

e. Escrow Agent shall distribute Escrow Funds for reimbursement of attorney
fees and costs incurred by Litigating Plaintiff States, and/or contribution to the NAAG Milk Fund, solely from
the Cost and Fee Account and the SST Cost and Fee Account. Escrow Agent shall distribute the Cost and Fee
Account for such reimbursement and/or contribution upon Written Direction from Plaintiff States’
Representatives. Escrow Agent shall distribute the SST Cost and Fee Account for such reimbursement and/or
contribution upon Written Direction from Plaintiff States' Representatives.

5. Cooperation with Other Parties. Escrow Agent shall, at the direction of the Plaintiff
States’ Representatives, cooperate with and provide all account and other necessary information to any
company or person employed by the Plaintiff States to administer a consumer claims procedure, including any
cooperation necessary for the issuance of consumer refund checks by such claims administrator.

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6. Termination of Settlement Agreement. If the Settlement is not approved or is
terminated, cancelled, voided or the Effective Date does not occur for any reason (Terminating Event”), all
Escrow Funds paid by Mylan (and interest thereon) shall be refunded to Mylan, reduced by the actual out-of-
pocket costs and expenses incurred or committed in the administration of the Settlements to the date of the
Terminating Event. In such case, refund shall occur within thirty (30) days of notification of the Terminating
Event, in writing, from Mylan and the Plaintiff States’ Representatives to the Escrow Agent. If the SST
Settlement is not approved or is terminated, cancelled, voided or the Effective Date of the SST Settlement does
not occur for any reason ("SST Terminating Event"),all Escrow Funds paid by SST (and interest thereon)
shall be refunded to SST. In such case, refund shall occur within thirty (30) days of notification of the SST
Terminating Event, in writing, from SST and the Plaintiff States’Representatives to the Escrow Agent. The
refund to Mylan and/or SST shall be reduced by the pro-rata share of any Taxes and Tax Expenses (as those
terms are defined below) paid or owed by the effected Account(s) through, as applicable, the date of the
Terminating Event and/or the SST Terminating Event.

7. Investment of Escrow Funds. Escrow Agent shall, in accordance with Written

Directions, invest the Escrow Funds in obligations of, or obligations guaranteed by, the United States of
America or any of its departments or agencies, or in pre-refunded or escrowed municipal bonds which are
federally insured, to obtain the highest available return on investment, and shall reinvest the proceeds of these
instruments as they mature in similar instruments at their then current market rates. Escrow Agent shall bear
all risks related to the investment of Escrow Funds. The Escrow Funds shall be deemed and considered to be
in custodia legis of the Court, and shall remain subject to the jurisdiction of the Court, until such time as such
Escrow Funds are fully distributed or upon further order(s) of the Court.

8. Preparation and Payment of Taxes. Escrow Agent shall establish andtreat the
Accounts as each being at all times a separate "qualified settlement fund" within the meaning of Treas. Reg.
§1.468B-1, and ensure that each Account is treated as a separate taxpayer. In addition, Escrow Agent and,

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out the provisions of the Settlements, including the "relation-back election" (as defined in Treas. Reg.
§1.468B-1), back to the earliest permitted date. Such elections shall be made in compliance with the
procedures and requirements contained in such regulation. It shall be the responsibility of Escrow Agent to
timely and properly prepare and deliver the necessary documentation for signature by all necessary parties,
and thereafter to cause the appropriate filing(s) to occur. For the purpose of § 468B of the Internal Revenue
Code of 1986, as amended, and the regulations promulgated thereunder, the “administrator” shall be the
Escrow Agent. Escrow Agent shall timely and properly file all informational and other tax returns necessary
or advisable with respect to each Account (including without limitation the returns described in Treas. Reg.
§1.468B-2 K and L). Such returns shall reflect that all taxes (including any estimated taxes, interest or
penalties) on the income earned by each Accountshall be paid by the effected Account. All (i) taxes
(including any estimated taxes, interest or penalties) arising with respect to the income earned by an Account,
including any taxes or tax detriments that may be imposed upon Mylan and/or SST with respect to any income
earned by that Account for any period during which that Accountdoes not qualify as a "qualified settlement
fund" for federal or state income tax purposes ("Taxes"), and (ii) expenses and costs incurred in connection
with the operation and implementation of this paragraph (including, without limitation, expenses of tax
attorneys and/or accountants and mailing and distribution costs and expenses relating to filing (or failing to
_____—file) the returns described herein) ("Tax Expenses"), shall be paid out of effected Account. Further, Taxesand =
Tax Expenses shall be treated as, and considered to be, a cost of administration of the Settlements and shall
be timely paid by Escrow Agent out of the effected Account without prior order from the Court, and Escrow
Agent shall be obligated (notwithstanding anything herein to the contrary) to withhold from distribution to
Plaintiff States any monies necessary to pay such amounts including the establishment for adequate reserves
for any Taxes and Tax Expenses (as well as any amounts that may be required to be withheld under Treas.

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Reg. §1.468B-2(1), (2)); Mylan and SST are not responsible and shall have no liability therefor or for any
reporting requirements that may relate thereto. The parties hereto agree to cooperate with the Escrow Agent,
each other, and their tax attorneys and accountants to the extent reasonably necessary to carry out the
provisions of this paragraph. Escrow Agent shall be responsible for and liable for any negligence in
preparation and filing of Taxes and Tax Expenses (including, without limitation, taxes payable by reason of
such negligence).

9. Resignation and Removal of Escrow Agent. Escrow Agent may resign from the
performance of its duties hereunder at any time by giving sixty (60) days prior written notice to the Plaintiff
States’ Representatives or may be removed, with or without cause, by the Plaintiff States’ Representatives, by
furnishing thirty (30) days prior written notice to Escrow Agent. Such resignation or removal shall take effect
upon the appointment of a successor Escrow Agent as provided herein. Upon any such notice of resignation
or removal, the Plaintiff States' Representatives shall appoint a successor Escrow Agent hereunder, subject
to the approval of Mylan and SST. Upon the acceptance in writing of any appointment as Escrow Agent
hereunder by a successor Escrow Agent, such successor Escrow Agent shall thereupon succeed to and become
vested with all the rights, powers, privileges and duties of the retiring Escrow Agent, and the retiring Escrow
Agent shall be discharged from its duties and obligations under this Final Escrow, but shall not be discharged
from any liability for actions taken as Escrow Agent hereunder prior to such succession. The retiring Escrow
Agent shall transmit all records pertaining to the Escrow Funds and shall pay all Escrow Funds to the
successor Escrow Agent, after making copies of such records as the retiring Escrow Agent deems advisable
and after deduction by and payment to the retiring Escrow Agent (after written notice to Plaintiff States!
Representatives) of all fees and expenses incurred by or expected to be incurred by the retiring Escrow Agent
in connection with the performance of its duties and the exercise of its rights hereunder.

10. Liability of Escrow Agent. The duties and obligations of the Escrow Agent shall be
determined by the express provisions of this Final Escrow and the Settlements, and no implied duties or
obligations shall be inferred or otherwise imposed upon or against the Escrow Agent, and the Escrow Agent
shall not be liable except for the performance of such duties and obligations as are specifically set out in this
Final Escrow and the Settlements.

11. Fees and Expenses of Escrow Agent.

a. The Escrow Agent shall be compensated for its services hereunder in
accordance with Exhibit C attached hereto, pursuant to the bid accepted by Liaison Counsel.

b. Escrow Agent is authorized to, and may disburse, to itself the amount of any
compensation due and payable hereunder in accordance with Paragraph 4(b) above and this Paragraph. Such
compensation may be directly disbursed by the Escrow Agent to itself on a monthly basis, thirty G0) days
after giving written notice, consisting of an itemization of compensation earned, and copies of invoices, to the
Plaintiff States' Representatives and Mylan.

12. Reports and Accounting. Escrow Agent will provide monthly reports to Plaintiff
States’ Representatives, and, if requested, to Mylan and SST, in a form that is acceptable to the Plaintiff States’
Representatives, reflecting income and disbursement activity of the Escrow Funds for the period and year to
date. The Escrow Agent shall further issue a final report and accounting which will summarize the income,
expenses, and disbursements associated with the administration of the Escrow Funds and such other reports
as the Plaintiff States' Representativesmay reasonably require from time to time. Escrow Agent shall provide
copies of the final report and accounting to Mylan and SST. Reports and the status of all accounts shall be
accessible to the Plaintiff States' Representatives on-line. The Escrow Agent will provide the name of the

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officer who will have principal responsibility of the management of the Escrow Funds and the Escrow Agent's
relationship with the Office of the Ohio Attorney General.

13. Consent to Jurisdiction and Venue. In the event that any party hereto commences
a lawsuit or other proceeding relating to or arising from this Escrow Agreement, the parties hereto agree that
the District Court for the District of Columbia shall have the sole and exclusive jurisdiction over any such
proceedings. Such Court shall have proper venue for any such lawsuit or judicial proceeding and the parties
hereto waive any objection to such venue. The parties hereto consent to and agree to submit to the jurisdiction
of such court and agree to accept service of process to vest personal jurisdiction over them in such Court.

14, Notices. All notices and other communications hereunder shall be in writing and
shall be deemed to have been validly served, given or delivered five (5) days after deposit in the United States
mails, by certified mail with return receipt requested and postage prepaid, when delivered personally, one (1)
day after delivery to any overnight courier, or when transmitted by facsimile transmission facilities, and
addressed to the party to be notified as follows:

If to Plaintiff States at: Doreen C. Johnson
Chief, Antitrust Section
Mitchell L. Gentile
Principal Attorney
Office of the Ohio Attorney General
140 East Town Street, 12" Floor
Columbus, Ohio 43215

Meredyth Andrus

Assistant Attorney General
—_—-_-, Office of the Attorney-General-of Maryland———————_______

Antitrust Division

200 St. Paul Place, 19" Floor

Baltimore, Maryland 21202-2021

If to Mylan at: James B. Weidner
Clifford Chance Rogers & Wells LLP
200 Park Avenue
New York, New York 10166-0153

If to SST at: Sidney S. Rosdeitcher
Paul, Weiss, Rifkind, Wharton & Garrison
1285 Avenue of the Americas
New York, New York 10019-6064

If to Escrow Agent at: Fifth Third Bank
Frank Wojcik
Vice President
21 East State Street
Columbus, Ohio 43215

or to such other address as each party may designate for itself by like notice.

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15. Rights to Account. Neither the Plaintiff States, their agencies or departments, nor
any member of any parens or consumer class, shall have any rights or title to or interest in any portion of any
Escrow Funds or Accounts except as provided by order of the Court.

16. Amendment or Waiver. This Final Escrow may be changed, waived, discharged or
terminated only by a writing signed by Liaison Counsel for the Plaintiff States, Mylan, SST, and the Escrow
Agent. No delay or omission by any party in exercising any right with respect hereto shall operate as a waiver.

A waiver on any one occasion shall not be construed as a bar to, or waiver of, any right or remedy on any
future occasion. Escrow Agent agrees to enter into an amendment of this Final Escrow with respect to the
treatment, designation, and/or use of the Escrow Funds, including, without limitation, the tax treatment of the
Escrow Funds, should such amendment be deemed warranted by Plaintiff States' Representatives, Mylan and
SST.

17. Governing Law. This Final Escrow shall be construed and interpreted in accordance
with the laws of the State of Ohio without giving effect to the conflict of laws principles thereof.

18. Entire Agreement, This Final Escrow and the Settlements constitute the entire
agreement between the parties relating to the holding, investment and disbursement of the Escrow Funds and
set forth in their entirety the obligations and duties of Escrow Agent with respect to the Escrow Funds.

19. Binding Effect. All of the terms of this Final Escrow , as may be amended from time
to time, shall be binding upon, inure to the benefit of and be enforceable by the parties hereto and their
respective heirs, successors and assigns.

20. Execution in Counterparts. This Final Escrow may be executed in two or more
counterparts, which when so executed shall constitute one and the same agreement.

2i. Dealings. Nothing herein shall preclude the Escrow Agent from acting in any other
capacity for any party, person or entity referenced herein.

IN WITNESS WHEREOPF, the parties hereto have caused this Final Escrow to be executed
under seal as of the date first above written.

PLAINTIFF STATES

By:

Title: Director of Administration for Liaison Counsel

MYLAN PHARMACEUTICALS, INC.

Raye
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Counsel for Mylan Pharmaceuticals, Inc.

SST CORPORATION

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By:

Counsel for SST Corporation

FIFTH THIRD BANK

By:

Title: Vice President

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EXHIBIT B
JOINT WRITTEN DIRECTION
EXAMPLE
STATE OF CONNETICUT ET AL V MYLAN PHARMACEUTICALS ET AL
ESCROW #
In accord with the Final Escrow Agreement, dated , 2001 and the

Settlement Agreements referenced in the Escrow Agreement, the Plaintiff States' Representatives

direct as the Escrow Agent to take the following action with

respect to the Escrow Funds. The Escrow Agent shall:

DATED: , 2001 PLAINTIFF STATES

By:

By:

Plaintiffs’ States’ Representatives

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Exhibit C

Schedule of Fees and Expenses

Out of Pocket Expenses: $0 (Absorbed in the Administrative Fee)

Annual Administration Fee: $20,000

Investment Fee:
For Interest-Bearing or Money

Market Account: 3 basis points (.0003) times average annual Assets.

For purchases of
Treasury Securities: $0

Other: $0

Fifth Third Bank
21 East State Street
Columbus, Ohio 43215

Attention: Frank Wojcik
(614) 233-4413

Schedule of Fees and Expenses Exhibit C

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